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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION

       UNILOC 2017 LLC,
                                                               Civil Action Nos. 2:18-cv-00491, -492, -
               Plaintiff,                                      493, -496, -497, -499, -502, -503, -504, -
                                                               548, -550, -551, -552, -553-JRG
       v.
                                                               JURY TRIAL DEMANDED
       GOOGLE LLC,

               Defendant.



            DEFENDANT’S REQUEST FOR RULING ON DEFENDANT’S MOTIONS TO
                         DISMISS AND MOTIONS TO TRANSFER



             Defendant Google LLC requests a ruling, respectfully, on its Renewed Motions to

   Dismiss for Lack of Standing and Improper Venue and Renewed Motions to Transfer Venue to

   the Northern District of California Under 28 U.S.C. § 1404, filed just over seven months ago,

   on October 18, 2019. 1, 2 (-00491 Case, Dkt. 106, 107; -00492 Case, Dkt. 102, 103; -00493 Case,


   1
     Google initially filed its Motion to Dismiss for Lack of Standing and Improper Venue in April and May, 2019 in
   Case Nos. -00491 through -00504, and June 2019 in Case Nos. -00548 through -00553, and its Motion to Transfer
   on June 28, 2019. (-00491 Case, Dkt. 17, 62; -00492 Case, Dkt. 17, 61; -00493 Case, Dkt. 17, 50; -00496 Case, Dkt.
   20, 60; -00497 Case, Dkt. 18, 59; -00499 Case, Dkt. 18, 55; -00502 Case, Dkt. 21, 54; -00503 Case, Dkt. 20, 57; -
   00504 Case, Dkt. 20, 56; -00548 Case, Dkt. 24, 28; -00550 Case, Dkt. 23, 27; -00551 Case, Dkt. 23, 28; -00552
   Case, Dkt. 18, 22; -00553 Case, Dkt. 21.) These motions were vacated and renewed motions filed. The briefing for
   the Renewed Motions to Dismiss have been complete since November, 2019 (except for the -00497 case, where
   briefing was completed in early December, 2019) and the Renewed Motions to Transfer have been complete since
   January, 2020.
   2
     Plaintiff Uniloc 2017 LLC declined to join Defendant’s Request.
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   Dkt. 106, 107; -00496 Case, Dkt. 102, 103; -00497 Case, Dkt. 105, 106; -00499 Case, Dkt. 100,

   101; -00502 Case, Dkt. 96, 97; -00503 Case, Dkt. 99, 100; -00504 Case, Dkt. 94, 95 (“Wave 1

   Cases”); -00548 Case, Dkt. 78, 79; -00550 Case, Dkt. 71, 72; -00551 Case, Dkt. 70, 71; -00552

   Case, Dkt. 71, 72; -00553 Case, Dkt. 71, 72 (“Wave 2 Cases”).)

          The parties are embarking on significant deposition discovery, expert reports and trial

   preparation efforts for the Wave 1 Cases, pursuant to the Court’s guidance during the May 15,

   2020 hearing regarding grouping and prioritizing those cases for trial and completing discovery

   in those cases in short order, with trial potentially beginning September 2020. In addition,

   various discovery and other motions remain pending in the Wave 1 Cases. Further, the current

   stay in the Wave 2 cases expired on May 19, 2020, and the parties will need to resume Markman,

   discovery, motion practice, expert reports and trial preparation in those cases if the stay is not

   extended pursuant to the parties’ May 19, 2020 Joint Notice. (See, e.g., -00552 Case, Dkt. 160.)

   Google appreciates and understands that the Court has a very busy docket. However, given the

   advancing stage of the cases and the pending, and soon forthcoming, issues to be decided by the

   Court in these cases, resolution of Google’s motions is now particularly important. In re Google

   Inc., No. 2015-138, 2015 WL 5294800, at *1 (Fed. Cir. July 16, 2015) (stressing “‘the

   importance of addressing motions to transfer at the outset of litigation.’” (quoting In re Nintendo

   Co., 544 F. App’x 934, 941 (Fed. Cir. 2013))). Further, on May 15, 2020, the Federal Circuit

   issued an Order Denying the Petition for Rehearing and Rehearing En Banc in In re Google

   LLC, No. 19-00126.

          Accordingly, Google respectfully requests a ruling on its motions to dismiss and its

   motions to transfer.




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